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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

Tanika Beaulieu
                                  Plaintiff,
v.                                                  Case No.: 1:17−cv−05672
                                                    Honorable Rebecca R. Pallmeyer
Cigna HealthSpring, et al.
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 23, 2018:


        MINUTE entry before the Honorable Daniel G. Martin: Settlement conference
held on 4/23/2018, agreement not reached. All matters relating to the referral of this action
having been concluded, the referral is closed and the case is returned to the assigned
judge. Judge Honorable Daniel G. Martin no longer referred to the case.Mailed notice(lxs,
)




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